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              UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF TENNESSEE
                    WESTERN DIVISION
_________________________________________________________________


HENRY PERRY, ET AL,                              JUDGMENT IN CIVIL CASE
Plaintiffs,

V.                                               CASE No.2:18cv2417 cgc

ALLSTATE PROPERTY AND CASUALTY
INSURANCE COMPANY,

Defendant.
_________________________________________________________________


     DECISION BY COURT. This action came to consideration before
the Court. The issues have been considered and a decision has been
rendered.

     IT IS SO ORDERED AND ADJOURNED in accordance with the Order of
Dismissal with Prejudice, entered on September 20, 2019, this cause
is dismissed with prejudice. Outstanding costs of this cause are
assessed to the Defendant.



APPROVED:

s/Charmiane G. Claxton
CHARMIANE G. CLAXTON
UNITED STATES MAGISTRATE JUDGE

                                          s/Thomas M. Gould
Date: September 20, 2019                  Clerk of Court


                                          s/Chris Sowell
                                          (By)Deputy Clerk
